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U.S. Department of Justice

Criminal Division

Fraud Section Washington, D.C. 20530
September 24, 2024

UNDER SEAL

Stuart A. Berman

Lerch, Early & Brewer, Chtd.
7600 Wisconsin Ave, Suite 700
Bethesda, MD 20814
saberman@lerchearly.com

Re: United States v. Ahmad Haris Tajyar
Criminal Case No.

Dear Mr. Berman:

This letter sets forth the full and complete plea offer to your client, Ahmad Haris Tajyar,
(hereinafter referred to as “your client” or “defendant”), from the Fraud Section, Criminal
Division, U.S. Department of Justice (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on September 27, 2024. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided below.
Upon receipt of the executed document, this letter will become the Plea Agreement (“this
Agreement”). The terms of the offer are as follows:

1. Charges and Statutory Penalties

Your client agrees to plead guilty to a criminal Information, charging your client with one
count of conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349.

Your client understands that a violation of 18 U.S.C. § 1349 carries a maximum sentence
of 20 years of imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the offense,
pursuant to 18 U.S.C. § 3571; a term of supervised release of not more than 3 years, pursuant to
18 U.S.C. § 3583(b)(1); mandatory restitution under 18 U.S.C. § 3663A; and an obligation to pay
any applicable interest or penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to
the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2023) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or felony
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drug offense, your client may be subject to the substantially higher penalties provided for in the
career-offender statutes and provisions of the Sentencing Guidelines.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offense(s), your client will not
be further prosecuted criminally by this Office for the conduct set forth in the attached Statement
of Offense.

4. Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies promulgated by the Sentencing Guidelines. Pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court in determining the
appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines

The parties agree that the following Sentencing Guidelines sections apply:

Guideline Description Offense Level

U.S.S.G. § 2B1.1(a)(2) Base Offense Level +7

U.S.S.G. § 2B1.1(b)(1)(K)) | Loss of more than $25,000,000 and less than | +22
$65,000,000

U.S.S.G. § 2B1.1(b)(2)(A)) | Involved 10 or more victims +2

U.S.S.G. § 2B1.1(b)(9)(C)) | The offense involved the violation of a prior | +2
specific judicial or administrative order,
injunction, decree, or process

U.S.S.G. § 3B1.2(b) Minor participant -2
TOTAL 31

A. Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
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assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the Estimated Offense Level will be at least 28.
B. Estimated Criminal History Category

Based upon the information now available to this Office, your client has at least the
following criminal convictions:

e Sentence of 40 months incarceration for conspiracy to commit securities fraud - United
States v. Tajyar, Case 10-CR-313 (C.D. Cal.) (Nov. 30, 2012) (+3) (U.S.S.G. § 4A1.1(a))

e Sentence of 12 months probation for insurance fraud in violation of California Penal
Code 550(B)(3) - People v. Tajyar, Case No. BA486985 (Superior Court of California,
County of Los Angeles) (June 30, 2022) (+1) (U.S.S.G. § 4A1.1(c))

Accordingly, your client is estimated to have 4 criminal history points and your client’s
Criminal History Category is estimated to be III (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

C. Adjustment Based on U.S.S.G. § 4C1.1

The parties agree that your client is not eligible for a zero-point offender adjustment
pursuant to U.S.S.G. § 4C1.1(a)(1) because your client received criminal history points as set
forth above.

D. Estimated Guidelines Range
Based upon the Estimated Offense Level and the Estimated Criminal History Category

set forth above, your client’s estimated Sentencing Guidelines range is 97 months to 121 months
(the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G. §
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5E1.2, should the Court impose a fine, at Guidelines level 28, the estimated applicable fine range
is $12,500 to $125,000. Your client reserves the right to ask the Court not to impose any
applicable fine.

Your client reserves the right to advocate for a downward departure from the Estimated
Guidelines Range pursuant to U.S.S.G. § 5K2.0(a)(2)(b) and/or U.S.S.G. § 2B1.1, Application
Note 21(C), and the Government reserves the right to object to such a departure. With that
exception, the parties agree that, solely for the purposes of calculating the Guidelines Range, no
other downward or upward departure from the Estimated Guidelines Range set forth above is
warranted. Except as provided above and as provided for in the “Adjustment Pursuant to
U.S.S.G. § 4C1.1” section above and “Reservation of Allocution” section below, the parties also
agree that neither party will seek any offense-level calculation different from the Estimated
Offense Level calculated above. However, the parties are free to argue for a Criminal History
Category different from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, or that your client is not eligible for an adjustment pursuant to U.S.S.G. §
4C1.1, that will not be a basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

5. Agreement as to Sentencing Allocution

The parties agree that a sentence within the Estimated Guidelines Range would constitute
a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a), should such a
sentence be subject to appellate review notwithstanding the appeal waiver provided below.
Nevertheless, your client reserves the right to seek a sentence below the Estimated Guidelines
Range based upon factors to be considered in imposing a sentence pursuant to 18 U.S.C. §
3553(a).

6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
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Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the Government has agreed to recommend or refrain
from recommending to the Court a particular resolution of any sentencing issue, the Government
and your client reserve the right to full allocution in any post-sentence litigation. The parties
retain the full right of allocution in connection with any post-sentence motion which may be filed
in this matter and/or any proceeding(s) before the Bureau of Prisons. In addition, your client
acknowledges that the Government is not obligated and does not intend to file any post-sentence
downward departure motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure.

7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client’s
substantial assistance to the Government, even if the Government files a motion pursuant to §
5K1.1 of the Sentencing Guidelines. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government’s sentencing recommendation. The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.
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8. Conditions of Release

Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions, any misconduct by your client, or any inability or failure on the part
of your client to continue your client’s cooperation with the Government, may result in the
Government filing an ex parte motion with the Court requesting that a bench warrant be issued
for your client’s arrest and that your client be detained without bond while pending sentencing in
your client’s case.

9, Cooperation

Your client agrees to cooperate with this Office on the following terms and conditions:

(a) Your client shall cooperate fully, truthfully, completely and forthrightly with this
Office and other Federal, state and local law enforcement authorities identified by this Office in
any and all matters as to which the Government deems the cooperation relevant. Your client
acknowledges that your client’s cooperation may include, but will not necessarily be limited to:
answering questions; providing sworn written statements; taking government-administered
polygraph examination(s); and participating in covert law enforcement activities. Any refusal by
your client to cooperate fully, truthfully, completely and forthrightly as directed by this Office
and other Federal, state and local law enforcement authorities identified by this Office in any and
all matters in which the Government deems your client’s assistance relevant will constitute a
breach of this Agreement by your client, and will relieve the Government of its obligations under
this Agreement, including, but not limited to, its obligation to inform this Court of any assistance
your client has provided. Your client agrees, however, that such breach by your client will not
constitute a basis for withdrawal of your client’s plea of guilty or otherwise relieve your client of
your client’s obligations under this Agreement.

(b) Your client shall promptly turn over to the Government, or other law enforcement
authorities, or direct such law enforcement authorities to, any and all evidence of crimes about
which your client is aware; all contraband and proceeds of such crimes; and all assets traceable
to the proceeds of such crimes. Your client agrees to the forfeiture of all assets which are
proceeds of crimes or traceable to such proceeds of crimes.

(c) Your client shall submit a full and complete accounting of all your client’s
financial assets, whether such assets are in your client’s name or in the name of a third party.

(d) Your client acknowledges and understands that, during the course of the
cooperation outlined in this Agreement, your client will be interviewed by law enforcement
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agents and/or Government attorneys. Your client waives any right to have counsel present
during these interviews and agrees to meet with law enforcement agents and Government
attorneys outside of the presence of counsel. If, at some future point, you or your client desire to
have counsel present during interviews by law enforcement agents and/or Government attorneys,
and you communicate this decision in writing to this Office, the Government will honor this
request, and this change will have no effect on any other terms and conditions of this Agreement.

(e) Your client shall testify fully, completely and truthfully before any and all Grand
Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Government.

(f) Your client understands and acknowledges that nothing in this Agreement allows
your client to commit any criminal violation of local, state or federal law during the period of
your client’s cooperation with law enforcement authorities or at any time prior to the sentencing
in this case. The commission of a criminal offense during the period of your client’s cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that such a breach of this Agreement will not entitle your client to
withdraw your client’s plea of guilty or relieve your client of the obligations under this
Agreement.

(h) Your client agrees to abide by any and all release conditions imposed by the
Court.

10. Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.
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C. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. Ifthere were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the Government with the concurrence of the Court. Your client also agrees that
the sentencing in this case may be delayed until your client’s cooperation has been completed, as
determined by the Government, so that the Court will have the benefit of all relevant information
before a sentence is imposed. Your client understands that the date for sentencing will be set by
the Court.

D. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
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or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c).

F. Witness Fees
Your client further agrees to waive all rights, claims, or interest in any witness fee that
your client may be eligible to receive pursuant to 28 U.S.C. § 1821 for your client’s appearance
at any grand jury, witness conference, or court proceeding, during the course of your client’s

cooperation pursuant to this Agreement or any term of your client’s incarceration.

11. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.

12. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
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party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Government, as it
directs. If you do not receive the disclosure form, your client agrees to request one from
usadc.ecfflu@doj.gov. Your client will complete and electronically provide the standard
financial disclosure form to usadc.ecfflu@doj.gov 30 days prior to your client’s

sentencing. Your client agrees to be contacted by Government, through defense counsel, to
complete a financial statement. Upon review, if there are any follow-up questions, your client
agrees to cooperate with the Government. Your client promises that the financial statement and
disclosures will be complete, accurate and truthful, and understands that any willful falsehood on
the financial statement could be prosecuted as a separate crime punishable under 18 U.S.C. §
1001, which carries an additional five years’ incarceration and a fine.

Your client expressly authorizes the the Government to obtain a credit report on your
client in order to evaluate your client’s ability to satisfy any financial obligations imposed by the
Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment. If your client is
sentenced to a term of imprisonment by the Court, your client agrees to participate in the Bureau
of Prisons’ Inmate Financial Responsibility Program, regardless of whether the Court
specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

13. Forfeiture

Your client agrees to the entry of a forfeiture money judgment in the amount of at least
$28,250.00.

Your client agrees that the proffer of evidence supporting your client’s guilty plea is
sufficient evidence to support this forfeiture. Your client agrees that the Court may enter a Consent
Order of Forfeiture for this property at the time of your client’s guilty plea or at any time before
sentencing. Your client agrees that this Order will become final as to your client when it is issued
and will be a part of your client’s sentence pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

Your client understands that the government can seek to forfeit substitute property of your
client, pursuant to 21 U.S.C. § 853(p), in order to satisfy the money judgment.
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Your client agrees that he has waived any and all interest he has in the specific assets or
properties identified above and consented to their forfeiture by whatever process the Government
chooses. Your client agrees that these items are subject to seizure and forfeiture by the United
States, and that no defense exists to the seizure and forfeiture of this property by the United States.
As such, your client hereby relinquishes all claim, title, and interest your client has in the above-
referenced property to the United States and agrees not to oppose any civil, administrative, or
judicial forfeiture of the property. Your client knowingly and voluntarily waives any right to timely
notice provided for in 18 U.S.C. § 983. Your client agrees that the Government may use this waiver
and consent in any administrative or judicial forfeiture proceeding, whether criminal or civil, state,
local or federal. If your client already has filed a claim to any of these assets or properties in any
forfeiture process, your client hereby agrees to withdraw it. Your client also agrees not to file a
claim to any of these assets or properties in any future forfeiture proceeding of whatever type. In
the event that the law enforcement agency having custody of the property decides not to pursue
forfeiture of any of the seized properties, your client hereby abandons any interest your client has
in such property and consents to its destruction by, and/or abandonment to, the law enforcement
agency.

Your client agrees that the government may choose in its sole discretion how it wishes to
accomplish forfeiture of the property whose forfeiture your client has consented to in this plea
agreement, whether by criminal or civil forfeiture, using judicial or non judicial forfeiture
processes. If the government chooses to effect the forfeiture provisions of this plea agreement
through the criminal forfeiture process, your client agrees to the entry of orders of forfeiture for
such property and waives the requirements of Federal Rule of Criminal Procedure 32.2 regarding
notice of the forfeiture in the charging instrument, announcement of the forfeiture at sentencing,
and incorporation of the forfeiture in the judgment. Your client understands that the forfeiture of
assets is part of the sentence that will be imposed in this case.

Your client agrees to take all necessary actions to identify all assets over which your client
exercises or exercised control, directly or indirectly, at any time since January 1, 2020, or in which
your client has or had during that time any financial interest. Your client agrees to take all steps as
requested by the Government to obtain from any other parties by any lawful means any records of
assets owned at any time by your client. Your client agrees to provide and/or consent to the release
of your client’s tax returns for the previous five years. Your client agrees to take all steps as
requested by the government to pass clear title to forfeitable interests or to property to the United
States and to testify truthfully in any judicial forfeiture proceeding.

Your client agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture in the specific assets or properties
identified above carried out in accordance with this plea agreement on any grounds, including that
the forfeiture constitutes an excessive fine or punishment.

14. Interpreter

Your client agrees that if an interpreter is required to assist your client in translating this
Agreement into your client’s native language, then your client agrees to request the Court,
pursuant to “The Court Interpreter’s Act,” 28 U.S.C. § 1827, to secure the services of a certified
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interpreter at the Court’s expense to verbally translate this Agreement and related documents for
your client into your client’s native language. If no such request is made, then your client hereby
declares that your client understands the English language sufficiently well to read and
understand this Agreement, or that this Agreement has been read to your client in your client’s
native language and that your client therefore understands this Agreement.

15. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; (d) no motion pursuant to Section 5K1.1 of the
Sentencing Guidelines or 18 U.S.C. § 3553(c) will be filed or sought; and (e) the Government
will be free to use against your client, directly and indirectly, in any criminal or civil proceeding,
all statements made by your client and any of the information or materials provided by your
client, including such statements, information and materials provided pursuant to this Agreement
or during the course of any debriefings conducted in anticipation of, or after entry of, this
Agreement, whether or not the debriefings were previously characterized as “off-the-record”
debriefings, and including your client’s statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

16. Government’s Obligations

This Office will bring to the Court’s attention at the time of sentencing the nature and
extent of your client’s cooperation or lack of cooperation.

This Office will evaluate the full nature and extent of your client’s cooperation to
determine whether your client has provided substantial assistance in the investigation or
prosecution of another person who has committed an offense. If this Office determines that your
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client has provided such substantial assistance, this Office shall file a departure motion pursuant
to Section 5K1.1 of the Sentencing Guidelines, which would afford your client an opportunity to
persuade the Court that your client should be sentenced to a lesser period of incarceration and/or
fine than indicated by the Sentencing Guidelines. The determination of whether your client has
provided substantial assistance warranting the filing of a motion pursuant to Section 5K1.1 of the
Sentencing Guidelines is within the sole discretion of this Office and is not reviewable by the
Court. In the event your client should fail to perform specifically and fulfill completely each and
every one of your client’s obligations under this Agreement, the Government will be free from
its obligations under this Agreement, and will have no obligation to file a departure motion
pursuant to Section 5K1.1 of the Sentencing Guidelines.

17. Sealing

It is further agreed that your client and the Government, subject to approval by the United
States Department of Justice, shall request that the Court place under seal this Agreement and
other relevant proceedings and documents entered into the record in this matter. Both parties
agree that this is necessary in order to protect the personal safety of your client and the law
enforcement agents/officers working with your client. Both parties further agree that if the
record is sealed in this matter, it shall remain under seal, subject to Court approval, until your
client is sentenced or such other time as the Court might direct in response to a motion made by
the United States.

18. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and this Office.

Your client further understands that this Agreement is binding only upon this Office.
This Agreement does not bind any other component of the U.S. Department of Justice or any
other United States Attorney’s Office, nor does it bind any other state, local, or federal
prosecutor. It also does not bar or compromise any civil, tax, or administrative claim pending or
that may be made against your client.
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If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
September 27, 2024.

Sincerely yours,

GLENN S. LEON

Chief, Fraud Section
Criminal Division
United States Department of Justice
py. KYLE CRAWFORD Satuseesucuscuro
Kyle Crawford, Trial Attorney
Fraud Section
Criminal Division
United States Department of Justice

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, Stuart
A. Berman. I fully understand this Agreement and agree to it without reservation. I do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made to
me nor am [| under the influence of anything that could impede my ability to understand this
Agreement fully. I am pleading guilty because J am in fact guilty of the offense(s) identified in
this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth in
this Agreement. I am satisfied with the legal services provided by my attorney in connection with
this Agreement and matters related to it.

oa |

Ahmad Haris Tajyar
Defendant

ATTORNEY’S:-ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client,
Ahmad Haris Tajyar, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. I concur in my client’s desire to
plead guilty as set forth in this Agreement.

Date: 9/2712 4 ?
Stuart A. Beng ad
Attorney for Defendant

